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     Erin O'Connell, Petitioner  v.  Woodland Park School District; Woodland Park School District Board of Education; Chris Austin, in his official capacity as Board Member; Gary Brovetto, in his official capacity as Board Member; David Illingworth II, in his official capacity as Board Member; Suzanne Patterson, in her official capacity as Board Member; and David Rusterholtz, in his official capacity as Board Member, Respondents No. 24SC34Supreme Court of Colorado, En BancJuly 22, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA2054
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari GRANTED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      the judicially created cure doctrine allowing public bodies
      to “cure” prior violations of Colorado's Open
      Meetings Law (COML) contravenes COML's plain meaning and
      longstanding precedent.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      expanding the judicially created cure doctrine to apply to
      intentional violations of statutory notice requirements for
      the purpose of addressing a controversial issue outside the
      public eye contravenes the plain language and intent behind
      COML and this court's mandates regarding its
      interpretation.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      the court of appeals erred by expanding the judicially
      created cure doctrine to permit formal actions under section
      24-6-402(8), C.R.S. (2023), to be reinstated retroactive to
      the date of the original violation and thereby preclude an
      award of prevailing-party attorney fees under section
      24-6-402(9), C.R.S. 2023, to the plaintiff who successfully
      proved the original violation.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DENIED
      AS TO ALL OTHER ISSUES.
    